  Case 1:23-cr-00236-FB       Document 43       Filed 05/30/24        Page 1 of 1 PageID #: 144

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

                                    Hon. Marcia M. Henry
                                United States Magistrate Judge


                            CRIMINAL CAUSE FOR PLEADING
                                                                            05/30/2024
                                                                 DATE: ____________________
USA v. Singh et al.,
 __________________                 23-CR-236-2
                         Docket No: ______________                          45 mins
                                                          10:30AMIn Court: _______
                                                   Time: _______
                                                           FTR Log #: _________________
               Nicholas Ceraolo
 Defendant: _______________________________
        X Present
        ___                                      X
                      ___Not Present ___Custody ___Bail
                    Robert Appleton
 Defense Counsel: _______________________________
         X Present
        ___                                                                   X Retained
                      ___Not Present ___Federal Defenders of New York ___CJA ___
         Ellen Sise
 AUSA: ___________________________                              S. Yu
                                                    Deputy: ______________________
                     Linda Marino
 Court Reporter: _____________________               N/A Language: _________________
                                       Interpreter: _____
 ___Case Called
 ___Defendant’s First Appearance
 ___Defendant: ___Sworn ___Arraigned ____Informed of Rights
 ___Waiver of Indictment Executed for Defendant
 ___Superseding Indictment/Information Filed
 ___Bench warrant Issued: ____________
 ___Defendant Withdraws Not Guilty Plea and Enters a Plea of Guilty to Count ____
                                                                               1&2
 of the Indictment/Superseding Indictment/ Information.
 ___Defendant Enters a Plea of Guilty to count(s)_______________ of ______the Information.
 ___Court Finds Factual Basis for the Plea
 ___Sentencing will be set by the Probation Office.
 ___The Probation Office is directed to prepare and file the PSR by_______ on ______________
 ___Sentencing is scheduled for ________________at ______________.
 ___Bail/Bond: _____ Set______ Continued for Defendant ________ Continued in Custody
 ___Case Adjourned to ___/___/_____
 ___Court accepts the Plea of Guilty.
 ___Transcript Ordered

 Text: The Court admitted into evidence the plea agreement (Court’s exhibit one)

 Presentence Report shall be prepared and filed by ________________
 Defendant's response is due ________________ The Government's response is due _____________
